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The

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of Appeals

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Sixth
Appellate District of Texas at Texarkana

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; GEORGE HENRY WILLIAMS, JR.,
Appellant

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; THE STATE OF TEXAS, Appellee

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; On Appeal from the 2nd Judicial District Court

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Cherokee
County, Texas

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Court No. 17,188

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Before Morriss, C.J.,
Carter and Moseley, JJ.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Opinion by Chief Justice Morriss








&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; O P I N I O N

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; George
Henry Williams, Jr.,[1]
and his wife, Peggy, frequently kept Peggy’s granddaughter, J.A., when J.A.’s
mother had to be at work at 5:30 a.m.&nbsp; In
February 2008, J.A. made an outcry allegation that, when her mother left her with
the Williamses on those occasions Williams&nbsp;
sexually abused her.&nbsp; Williams was
indicted and convicted for the offense of continuous sexual abuse of a
child.&nbsp; See Tex. Penal Code Ann.
§ 21.02 (Vernon Supp. 2009).&nbsp; This is a
relatively new statute, enacted during the 2007 legislative session.[2]&nbsp; Williams was convicted by a Cherokee County[3]
jury and sentenced to thirty-five years’ incarceration.&nbsp; After reviewing the record, the applicable
law, the briefs, and the oral arguments, we affirm the judgment of the trial
court, because (1) legally and factually sufficient evidence supports the jury’s
verdict (points of error 1, 2, 3, and 4); (2) the trial court did not err in
denying Williams’ requested jury charge (point of error 7); and (3) Williams
failed to preserve any complaint that the statute is unconstitutional (points
5, 6, and 8).

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; First,
we review a bit more of the background of this case.&nbsp; The State alleged Williams engaged in an
ongoing sexually abusive relationship with his step-granddaughter, J.A.&nbsp; At the time of trial, Williams had been
married to Peggy for about twenty-seven or twenty-eight years.&nbsp; Peggy is the mother of Pamela King, who is
the mother of J.A.&nbsp; During the months of September
2007 through January 2008 (the period alleged in the indictment), King regularly
worked the hours of 5:30&nbsp;a.m. to 1:30 p.m.&nbsp;
King delivered J.A. to the Williamses’ house about 5:10 a.m. each of the
mornings she was working.&nbsp; After King had
gone on to work, J.A. would get in bed with the Williamses.&nbsp; After a while, Peggy would get up to make
breakfast, leaving J.A. in bed alone with Williams.&nbsp; It was then that the abuse reportedly
occurred.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Eventually
J.A. told her cousin K.R. of the abuse, who then told her mother, LaTonya
Roberts,[4]
who then told King.&nbsp; King asked J.A.
about the allegations, and J.A. told King what Williams had done to her.&nbsp; When King asked J.A. how many times Williams
had engaged in the sexual abuse, J.A. said, “just about every time [J.A.] went
out there” to the Williamses’ home.&nbsp; King
said that J.A. demonstrated to King what Williams had done.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; At
trial, J.A. testified that, when she was alone in the bed with Williams, “He
put his finger in [her] middle and his private in [her] bottom,” and he did
this “[m]ore than twice.”[5]
A video-recorded forensic interview with J.A. was played for the jury, in which
J.A. made similar accusations, saying Williams touched her inside her middle
and bottom with his finger more than once.&nbsp;


(1)&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Legally
and Factually Sufficient Evidence Supports the Jury’s Verdict

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Points
of error 1 and 2 complain, respectively, of the legal and factual sufficiency
of the evidence to establish that the abuses alleged by the State took place
over a span of thirty or more days.&nbsp; The
State’s indictment tracked the language of Section 21.02 of the Texas Penal
Code, alleging that Williams, “during a period that was thirty (30) days or
more in duration, committed two or more acts of sexual abuse against” J.A.&nbsp; Cf.
Tex. Penal Code Ann. §
21.02(b)(1).&nbsp; Williams claims there was
insufficient evidence to prove that any abuse, if it did occur, happened over a
span of thirty or more days.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; In
reviewing the legal sufficiency of the evidence, we view all of the evidence in
the light most favorable to the prosecution and determine whether, based on
that evidence and reasonable inferences therefrom, any rational trier of fact
could have found the essential elements of the crime beyond a reasonable doubt.
&nbsp;Laster
v. State, 275 S.W.3d 512, 517 (Tex. Crim. App. 2009); Roberts v. State, 273 S.W.3d 322 (Tex. Crim. App. 2008).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; In
a factual sufficiency review, we review all the evidence, but do so in a
neutral light instead of the light most favorable to the verdict.&nbsp; We determine whether the evidence supporting
the verdict is either too weak to support the fact-finder’s verdict, or,
considering conflicting evidence, is so outweighed by the great weight and
preponderance of the evidence that the jury’s verdict is clearly wrong and
manifestly unjust.&nbsp; Laster, 275 S.W.3d at 518; Lancon
v. State, 253 S.W.3d 699, 705 (Tex. Crim. App. 2008); Roberts v. State, 220 S.W.3d 521, 524 (Tex. Crim.
App. 2007).&nbsp;&nbsp;&nbsp;&nbsp; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; In
this analysis, we use a hypothetically correct jury charge to evaluate both the
legal and factual sufficiency of evidence. &nbsp;Grotti
v. State, 273 S.W.3d 273 (Tex. Crim. App. 2008).&nbsp; Such a charge accurately sets out the law, is
authorized by the indictment, does not unnecessarily increase the State’s
burden of proof or unnecessarily restrict the State’s theories of liability,
and adequately describes the particular offense for which the defendant was
tried.&nbsp; Villarreal v. State, &nbsp;286
S.W.3d 321(Tex. Crim. App. 2009); Malik
v. State, 953 S.W.2d 234, 240 (Tex. Crim. App. 1997).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; To convict Williams under this
statute, the State had to prove four elements:

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; (1)&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Williams
committed two or more acts of sexual abuse;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; (2)&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; over
a span of thirty days or more;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; (3)&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; against
J.A.; and

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; (4)&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; that
at the time of the sexual abuse Williams was seventeen years of age or older
and J.A. was younger than fourteen years of age.

&nbsp;

Sexual
abuse could have been proved by proving aggravated sexual assault of a child or
indecency with a child.&nbsp; To prove
aggravated sexual assault of a child, the State had to present evidence that J.A.
was younger than seventeen years of age and that Williams penetrated J.A.’s
sexual organ with his finger.&nbsp; Tex. Penal Code Ann. § 22.021 (Vernon
Supp. 2009).&nbsp; To prove indecency with a
child, the State would have had to present evidence Williams touched any part
of J.A.’s genitals with Williams’ hand or finger, with the intent to arouse or
gratify Williams’ sexual desire.[6]&nbsp; Tex.
Penal Code Ann. § 21.11(a) (Vernon Supp. 2009).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The child victim, J.A., was seven
years old at trial; she testified that Williams “put his finger in [her] middle
and his private in [her] bottom.”&nbsp; J.A.
described her “middle” and “bottom” as the private parts of her body from which
she urinated and defecated, respectively.&nbsp;
She said that Williams did these acts “more than twice.”&nbsp; In the forensic interview, J.A. said the
abuse happened more than once.&nbsp; J.A. was
not, however, able to speak to the span of time over which these abuses
occurred.[7]&nbsp; However, J.A.’s mother, King, said she asked
J.A., “How many times did he do that to you?”&nbsp;
J.A. replied (according to King’s testimony), “Just about every time
that I went out there to stay with grandmother.”&nbsp; King testified that, as part of her normal
habit or routine, whenever she went to work early in the morning, J.A. went to
stay with the Williamses, and King regularly worked these early morning shifts
during the five-month period alleged in the indictment.&nbsp; J.A. told the sexual assault nurse examiner
(SANE) who examined J.A. that the abuse occurred more than once.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; &nbsp;Based on this summarized testimony, a rational
trier of fact could have found that Williams committed two or more acts of
sexual abuse over a span of thirty or more days; the evidence is legally
sufficient to establish that element of the offense.&nbsp; Likewise, we find the evidence factually
sufficient.&nbsp; The evidence supporting the
jury’s verdict is not so weak as to be clearly wrong or unjust.&nbsp; As regards evidence contrary to the verdict,
Williams took the stand and denied J.A.’s accusations.&nbsp; He presented two of J.A.’s teachers who said
that they had detected no disciplinary problems or mood swings in the child in
or after the period over which the alleged abuse occurred.&nbsp; He points out that the SANE detected no
evidence of physical trauma when she examined J.A.; though she also pointed out
this was not in anyway unusual based on J.A.’s allegations.&nbsp; To the extent this evidence conflicts with
the jury’s verdict, it cannot be said the verdict is against the great weight
and preponderance of the evidence proffered by Williams.&nbsp; Accordingly, the first two points of error
are overruled. 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; In
his third and fourth points of error, Williams claims the evidence is legally
and factually insufficient to support a finding that, if he engaged in sexual
contact with J.A., he did it to arouse or gratify the sexual desire of any
person.&nbsp; See Tex. Penal Code Ann.
§ 21.11(a)(1).&nbsp; As pointed out earlier, Section
21.02 defines the offense of continuous sexual assault as committing any of the
enumerated penal code violations two or more times over thirty or more
days.&nbsp; Two of the potential offenses
listed, and the two alleged by the State in the indictment, are the offenses of

Indecency
with a Child, by touching any part of the genitals of [J.A.] with the
defendant’s hand or finger, with the intent to arouse or gratify the defendant’s
sexual desire;[8] AND/OR Aggravated Sexual Assault of a Child,
namely, caused the penetration of the female sexual organ of [J.A.], with the
defendant’s finger.[9]

&nbsp;

Thus, it was necessary for the
State to prove that Williams committed aggravated sexual assault two or more
times; indecency with a child by contact two or more times; or that Williams
committed at least one act of aggravated sexual assault and at least one act of
indecency with a child; that these acts were committed against J.A.; and the
acts were committed over a span of thirty or more days. 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Obviously,
the indictment would be proved if the State proved Williams committed two or
more acts of aggravated sexual assault against J.A. over the statutory time span.&nbsp; When J.A. described the abuse, she said that
Williams “put his finger in [her] middle,” by which she meant her vagina, or
where she went “peepee”; and “his private in [her] bottom.”&nbsp; Leaving aside for the moment the second part
of that allegation (which was not alleged in the indictment), the first part
clearly claims Williams did what was alleged in the indictment as aggravated
sexual assault, that the defendant did “cause the penetration of the female
sexual organ of [J.A.], with the defendant’s finger.”&nbsp; This evidence is sufficient to prove that
Williams committed aggravated sexual assault against J.A.&nbsp; Cruz v.
State, 238 S.W.3d 389, 395 (Tex. App.—Houston [1st Dist.] 2006, pet. ref’d)
(testimony of victim, standing alone, sufficient to support conviction for
sexual assault).&nbsp; Bearing in mind our
analysis of Williams’ first two points of error, there was legally and
factually sufficient evidence to support a verdict that Williams committed
continuous sexual assault by committing two or more acts of aggravated sexual
assault.&nbsp; Thus, any complaint that there
is insufficient evidence of intent to arouse or gratify the sexual desire of
any person, an element of indecency with a child, is moot.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Nonetheless,
there was still sufficient evidence from which the jury could find intent to
arouse or gratify Williams’ sexual desire.&nbsp;
The specific intent to arouse or gratify the sexual desire of a person
can be inferred from conduct, remarks, or all the surrounding circumstances. Couchman v. State, 3 S.W.3d 155, 163
(Tex. App.—Fort Worth 1999, pet. ref’d). An oral expression of intent is not
required, and a defendant’s conduct alone is sufficient to infer intent. &nbsp;Id.;
see also Abbott v. State, 196 S.W.3d
334, 341 (Tex. App.—Waco 2006, pet. ref’d) ( jury could infer intent to arouse
or gratify sexual desire from defendant’s act of touching child’s genitals).
Furthermore, intent can be inferred from the appellant’s conduct after the
incident. Couchman, 3 S.W.3d at
163.&nbsp; Williams’ niece, Evette Hart,
called Williams when she heard about J.A.’s allegations.&nbsp; She said Williams did not deny the charges or
seem surprised: &nbsp;“he was just, just
really quiet . . . it’s like he didn’t seem surprised.&nbsp; He just seemed like he was caught.”&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; We
have enunciated the standards for legal and factual sufficiency above.&nbsp; We find evidence sufficient under both
standards; Williams’ third and fourth points of error are overruled.

(2)&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The
Trial Court Did Not Err in Denying Williams’ Requested Jury Charge

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; In
his seventh point of error Williams argues the trial court erred by not
granting Williams’ request for a special issue jury instruction.[10]&nbsp; Williams argues that the trial court’s charge
to the jury allowed the jury to return a nonunanimous verdict. This, reasons
Williams, amounted to a violation of his due process rights.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The
Texas Code of Criminal Procedure requires unanimous verdicts in criminal cases.&nbsp; Tex.
Code Crim. Proc. Ann. art. 36.29(a).&nbsp;
Although it does not use the term “unanimous,” the Texas Constitution
likewise guarantees a defendant’s right to a unanimous verdict in criminal
cases.&nbsp; Tex.
Const. art. V, § 13; Brown v.
State, 508 S.W.2d 91, 93 (Tex. Crim. App. 1974).&nbsp; In his appellate brief, Williams claims Section
21.02 of the Texas Penal Code permits a verdict to be returned which is not the
unanimous decision of the jury.&nbsp; Williams
is referring to the subsection of Section 21.02 which provides: 

&nbsp;&nbsp;&nbsp;&nbsp; (d)&nbsp;&nbsp;&nbsp;&nbsp; If a jury is the trier of fact, members of
the jury are not required to agree unanimously on which specific acts of sexual
abuse were committed by the defendant or the exact date when those acts were
committed.&nbsp; The jury must agree
unanimously that the defendant, during a period that is 30 or more days in
duration, committed two or more acts of sexual abuse.

&nbsp;

Tex.
Penal Code Ann. § 21.02(d).&nbsp; Williams
further argues that, because the jury could have reached a nonunanimous
verdict, his due process rights were violated, though he does not explain how
this alleged lack of unanimity amounts to a due process violation.&nbsp; See
Tex. R. App. P. 38.1(i)
(appellate brief “must contain a clear and concise argument for the contentions
made, with appropriate citations to authorities and to the record”). 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The
thrust of Williams’ argument seems to be that, because Section 21.02 of the
Texas Penal Code states that a jury need not be unanimous in deciding which
abusive acts were perpetrated or when they occurred, such provision violated Article
36.29’s requirement of unanimity.&nbsp; However,
this is not the complaint Williams made to the trial court.&nbsp; Williams asked the trial court to include the
following instruction in the charge to the jury:

We the jury unanimously find that the defendant,
G.W., during a period that is 30 or more days in duration, committed two or
more acts of sexual abuse.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Yes
/ no

&nbsp;

____________

Jury
Foreperson

&nbsp;

The trial court
denied this request.&nbsp; The submitted
charge, though, contained the following:

&nbsp;

In order to find the defendant guilty of the
offense of Continuous Sexual Abuse of a Young Child, you are not required to
agree unanimously on which specific acts of sexual abuse were committed by the
defendant or the exact date when those acts were committed.&nbsp; However, in order to find the defendant
guilty of the offense of continuous sexual abuse of a young child, you must agree unanimously that the defendant,
during a period that is 30 or more days
in duration beginning on or after September 1, 2007, through on or about
January 30, 2008, committed two or more
acts of sexual abuse.

&nbsp;

(Emphasis added.)&nbsp; Williams does not explain, and we cannot
discern, how the instruction he requested differs substantially from the
instruction given.&nbsp; The charge given goes
on to accurately define “acts of sexual abuse” using the statutory definitions
in the Texas Penal Code for indecency with a child and aggravated sexual
assault.&nbsp; See Tex. Penal Code Ann.
§§ 21.11, 22.021. Although he asked the trial court to use his instruction and
submit it as a special issue, the charge actually submitted requires the same
finding as the instruction Williams sought: &nbsp;both instructions require a unanimous finding
that Williams perpetrated two or more acts of sexual abuse over thirty or more
days.&nbsp; To the extent Williams wanted the
jury to be unanimous on which acts occurred on what dates, he did not ask the
trial court to submit such an instruction and thus has not preserved that
complaint for appellate review.&nbsp; Tex. R. App. P. 33.1. 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Williams’
briefing on this point is unclear.&nbsp; If he
is complaining the trial court did not submit the requested charge language
proffered by Williams, the charge given adequately tracked the statutory
language and was substantially the same as the one Williams requested.&nbsp; To the extent he complains the jury was not
required to be unanimous on which abusive acts occurred and when, that
complaint was not preserved.&nbsp; We overrule
the seventh point of error.

(3)&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Williams
Failed to Preserve any Complaint that the Statute Is Unconstitutional

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; In
his fifth, sixth, and eighth points of error, Williams claims Section 21.02 of
the Texas Penal Code is unconstitutional in three different ways: &nbsp;on its face because it subjects a defendant to
a nonunanimous verdict (point of error 5); as applied to Williams because it
subjected him to a conviction by less than a unanimous verdict (point of error
6); and on its face because the statute subjects a defendant to conviction for
offenses which would otherwise be barred by the statute of limitations (point
of error 8). 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Williams
made no objection to the trial court about the constitutionality of Section
21.02 of the Texas Penal Code.[11]&nbsp; Failure to object that a statute is
unconstitutionally vague, as applied to a defendant, waives any appellate
review of that complaint.&nbsp; Curry v. State, 910 S.W.2d 490, 496
(Tex. Crim. App. 1995) (holding appellant waived his challenge to statute as
vague as applied because he did not specifically object at trial); Fluellen v. State, 104 S.W.3d 152, 167 (Tex. App.—Texarkana 2003, no pet.) (“A
constitutionality challenge based on application to the defendant’s case cannot
be raised for the first time on appeal.”).&nbsp;
Similarly, the Texas Court of Criminal Appeals recently held that a
claim a statute is void on its face must also be preserved by trial objection.&nbsp; Karenev
v. State, 281 S.W.3d 428, 434 (Tex. Crim. App. 2009).&nbsp; Williams has therefore not preserved for
review his fifth, sixth, or eighth points of error.[12]
&nbsp;They are accordingly overruled. 




&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; We affirm the judgment and
conviction. 

&nbsp;

&nbsp;

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Josh
R. Morriss, III

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Chief
Justice

&nbsp;

Date Submitted:&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; January
13, 2010

Date Decided:&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; February
10, 2010

&nbsp;

Publish

&nbsp;

&nbsp;











[1]George
Williams is referred to in this opinion as Williams.

&nbsp;





[2]In
pertinent part, the statute criminalizes committing two or more acts of sexual
abuse against a child younger than fourteen years of age, where the actor is
seventeen or older, and the abusive acts take place over a span of thirty or
more days.&nbsp; “Acts of sexual abuse” are
listed in the statute, and include sexual and aggravated sexual assault and
indecency with a child by contact, among other acts not relevant here.&nbsp; The crime is a felony of the first degree,
with a range of punishment of not less than twenty-five years, not more than
ninety-nine years.&nbsp; See Tex. Penal Code Ann.
§ 21.02.

&nbsp;





[3]Originally appealed to the Twelfth Court of Appeals,
this case was transferred to this Court by the Texas Supreme Court pursuant to
its docket equalization efforts.&nbsp; See Tex.
Gov’t Code Ann. § 73.001 (Vernon 2005).&nbsp;
We are unaware of any conflict between precedent of the Twelfth Court of
Appeals and that of this Court on any relevant issue.&nbsp; See
Tex. R. App. P. 41.3.

&nbsp;





[4]Roberts
is the sister of Peggy.&nbsp; 

&nbsp;





[5]J.A.
testified to her body parts and adequately identified them; Williams does not
contest this on appeal.

&nbsp;





[6]Obviously,
these are not the exclusive means of committing these offenses, but these are
the means alleged in the indictment.&nbsp; See generally Tex. Penal Code Ann. § 21.11 (Vernon Supp. 2009), § 22.021.

&nbsp;





[7]Arguably
this is precisely the kind of situation the Legislature considered when
enacting Section 21.02 of the Texas Penal Code.&nbsp;
See Dixon v. State, 201 S.W.3d 731, 737 (Tex. Crim. App. 2006)
(Cochran, J., concurring).





[8]See Tex.
Penal Code Ann. § 21.11(a)(1).

&nbsp;





[9]See Tex.
Penal Code Ann. § 22.021.





[10]In
Williams’ brief, he urges three points of error in one section; points five and
six complain Section 21.02 of the Texas Penal Code is unconstitutional.&nbsp; Point seven, as we have said, complains of
the denial of a jury instruction.&nbsp; Almost
all of the briefing and argument in this section of Williams’ brief claims that
Section 21.02 allows a jury to return a verdict without being unanimous.&nbsp; Thus, reasons Williams, he has been denied
his due process right to a unanimous verdict.&nbsp;
See Tex. Const. art. V, §
13; Tex. Code Crim. Proc. Ann.
art. 36.29 (Vernon Supp. 2009).&nbsp;
Williams’ arguments that Section 21.02 is unconstitutional have not been
preserved for our review.





[11]At
oral argument, Williams claimed the error was so severe as to warrant
review.&nbsp; We are not persuaded by this
argument, in the face of clear rulings by the Texas Court of Criminal Appeals
and the lack of any argument or authority by Williams in support of this
assertion.

&nbsp;





[12]We
are not without concern regarding this statute.&nbsp;
We recognize that several states, for more than a decade, have had
similarly structured statutes outlawing the offense of “continuous sexual
assault of a child,” and the high courts of most of those states have found the
statutes to pass constitutional muster.&nbsp; See State v. Ramsey, 124 P.3d 756, 763—66 (Ariz. 2005); People v. Jones, 792 P.2d 643 (Cal. 1990); State v. Fortier, 780 A.2d 1243, 1252 (N.H.
2001); People v. Calloway, 672
N.Y.S.2d 638, 642—43
(N.Y. Co. Ct. 1998); State v. Johnson,
627 N.W.2d 455, 460—61
(Wis. 2001).&nbsp; We are still left, though,
wondering, as we asked counsel at oral argument, what is this Court to review,
where, as here, arguably the jury did not have to agree exactly what abuses
occurred when?&nbsp; We anticipate the State
would answer that this situation is analogous to Jefferson v. State, 189 S.W.3d 305 (Tex. Crim. App. 2006), where
multiple methods of committing the offense of injury to a child were alleged;
the court affirmed the conviction because, whether the injury was caused by an
“act” or an “omission” was not an element of the crime—the element was injury,
which could have been caused either by act or omission.&nbsp; Jefferson,
189 S.W.3d at 312—14.&nbsp; Section 21.02 of the Texas Penal Code may
well fall within the reasoning of Jefferson,
Schad v. Arizona, 501 U.S. 624, 643—45 (1991), and similar
cases.&nbsp; Based on the failure to preserve
error, state of briefing and arguments presented, we do not reach these issues
in the instant case.&nbsp; As of this writing,
we are aware of only one appellate decision, unpublished, addressing Section
21.02, and the issues of constitutionality or unanimity were not raised.&nbsp; See
Enriquez v. State, No. 03-08-00760-CR, 2009 Tex. App. LEXIS 8185, at *1—2 (Tex. App.—Austin Oct. 23,
2009, no pet. h.) (mem. op., not designated for publication).&nbsp; Our sense is this statute, and the issues
herein touched upon, albeit briefly, have yet to be fully discussed by Texas
courts and appellants.







